                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                                 )
                                                          )      CRIMINAL NO. 3:20-cr-104
Plaintiff,                                                )
                                                          )      MOTION TO WITHDRAW AS COUNSEL
vs.                                                       )      DUE TO CONFLICT
                                                          )
ANTONIO LASHAWN WARFIELD,                                 )
                                                          )
Defendant.                                                )

        COMES NOW Terence McAtee of the Federal Defender's Office and respectfully

requests the court's permission to withdraw as attorney for defendant Antonio Lawshawn

Warfield because of a conflict of interest. Counsel requests a CJA panel attorney be appointed to

represent said defendant in this case.

        Trial is this matter is currently scheduled to commence on February 7, 2022.



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                                                                 By: /s/ Terence McAtee
                                                                        Terence McAtee
                                                                        Assistant Federal Defender
                                                                        ATTORNEY FOR DEFENDANT



cc: Cliff Cronk, AUSA
                                            CERTIFICATE OF SERVICE
                               I hereby certify that on December 1, 2021, I electronically
                               filed this document with the Clerk of Court using the ECF
                               system which will serve it on the appropriate parties.
                                                /s/
